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13
14                             UNITED STATES DISTRICT COURT
15                            NORTHERN DISTRICT OF CALIFORNIA
16    ANDRES GOMEZ,
                                                     Case: 3:22-cv-01654-JSC
17              Plaintiff,
18       v.                                          JOINT STIPULATION FOR
19                                                   DISMISSAL PURSUANT TO
      CUVAISON, INC., a California
20    Corporation,                                   FEDERAL RULE OF CIVIL
                                                     PROCEDURE 41(a)(1)(A)(ii)
21              Defendants.
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     Joint Stipulation for Dismissal                     Case: 3:22-cv-01654-JSC
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1
                                          STIPULATION
2
3
4            Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), IT IS
5    STIPULATED by and between the parties hereto that this action may be dismissed
6    with prejudice as to all parties; each party to bear his/her/its own attorneys’ fees

7    and costs.

8
9    Dated: July 11, 2022                  CENTER FOR DISABILITY ACCESS
10
                                           By: /s/ Amanda Seabock
11                                                Amanda Seabock
12                                                Attorneys for Plaintiff

13   Dated: July 11, 2022                  CARLE, MACKIE, POWER & ROSS LLP
14
                                           By: /s/ Arif Virji
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                                                  Arif Virji
16                                                Attorney for Defendant
                                                  Cuvaison, Inc.
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     Joint Stipulation for Dismissal                     Case: 3:22-cv-01654-JSC
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1
                                   SIGNATURE CERTIFICATION
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3
4    I hereby certify that the content of this document is acceptable to Arif Virji, counsel
5    for Cuvaison, Inc., and that I have obtained authorization to affix his electronic
6    signature to this document.
7
8    Dated: July 11, 2022                  CENTER FOR DISABILITY ACCESS
9
                                           By: /s/ Amanda Seabock
10                                                Amanda Seabock
11                                                Attorneys for Plaintiff

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     Joint Stipulation for Dismissal                     Case: 3:22-cv-01654-JSC
